Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 1 of 44

 

CITY OF BUFFALO

DEPARTMENT OF LAW

EXHIBIT

fe
Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 2 of 44

Account # Report # 0101-0456

ERIE COUNTY MEDICAL CENTER CORPORATION

ED-Provider Report
462 Grider St Buffalo, NY 14215

Patient's Name KISTNER,JAMES

Report# 0101-0456

Date of Birth: co

Attending Physician:

Dictating Provider: REED,ESSIE M MD, (RES)

(716) 898-3000

MR#: ED Account ¢:
Age/Sex: 56/M

Admission Date/Time:

Admitting Service:

Dictating Date/Time: 01/01/17 1158

Primary Provider: NO PRIMARY CARE PROVIDER

 

History of Present Illness

General

ED Attending: BILLITTIER ANTHONY J IV, MD
Tracker Chief Complaint: Facial Pain

Time seen by ED provider: 11:45

Allergies/Medications
Allergies:
Coded Allergies:
codeine (Verified Allergy, Unknown, 1/1/17)
Current Patient Meds:
DENIES

History of Present IlIness

Initial Comments

The patient is a 56-year-old with a past medicai history of a lumbar spinal tumor status post removal, sarcoid, and chronic
renal disease male who presents in police custody due to agitation. He reportedly struck a police car breaking the side
view mirror. He is extremely agitated throughout the interview repeatedly shouting that everyone in the room is a "fascist
and a nazi." And that he was injured by the handcuffs applied by the police. He did also state that he fell and struck his
head. He denies loss of consciousness. No neck or back pain. He was able to ambulate after the fall. He is alert, and
oriented to place, time. It is difficult to ascertain whether or not he is oriented to circumstance of his arrival in the ED. He
complains of mild posterior headache as well as bilateral wrist pain.

Pain Severity: 5

Past Histo

Past History

Past History Narrative
as per HPI

Social History
Smoking: smoker

Review of Systems
Review of Systems

ROS Narrative

constitutional: no fever/chills, no fatigue

eye: no blurred vision, no double vision

ENT: no tinnitus, no sore throat
cardiovascular: no chest pain, no palpitations
taspiratory: no dyspnea, no cough

Gi: no abdorninal pain, no nausea/vomiting
GU: no dysuria, no hematuria

MSK: no neck pain, no joint pain

 
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skin: no rash, no lesions
neuro: no dizziness, + headache
psych: no SI, no HI

Physical Exam
Vital Signs
Vital Signs

Vital Signs
| Date Time | Temp | Pulse | Resp | B/P Pulse Ox | O2 Delivery | O2 Flow Rate | Fi02
W1/17 14:24 | 97.9 73 16 | 156/78

 

 

 

 

 

 

 

 

 

 

 

 

 

Physical Exam

Physical Exam Narrative

Gen: no acute distress, well developed & well nourished

eye: PERRL, EOMI, normal sclera

Head: normocephalic, small abrasion over right forehead

ENT: moist mucous membranes, no erythema or exudates in oropharynx, hearing grossly normal,
neck: supple, normal ROM, nontender to palpation

respiratory: lungs clear w/normal breath sounds, no respiratory distress, no accessory muscle use
cardiac: regular rate & rhythm, no murmurs appreciated, normal peripheral pulses

abdominal: nontender, nondistended, soft, normal bowel sounds

extremities: norma! ROM, normal inspection, no pedal edema

skin: warm, dry, no rashes, no lesions

psych: normal thought pattern, no hallucinations, no SI! or HI, agitated

neuro: Aleit, awake, oriented to person, place, and time, unable to determine the patient is oriented to circumstance, moves all axtremities

Lab/Imaging/EKG Results
Laboratory Results

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LAB-8h RESULTS
Test VAN? | WAA7
13:30 | 14:50
Acetaminophen Level < 15.0meg/mL
(15-30) L
Anion Gap 13mmol/.
(7-18)
Barbiturates < 0.03meg/mL
Basophils # (Auto) 0.0x 10e9/L
(<0.2)
Basophils (%) (Auto) 0.3% (0.0-2.0)
Benzodiazepines Screen < 3.0ng/mL
Blood Urea Nitrogen 19mg/dL (6-20)
Calcium Level 9.8mg/dL.
(8.4-10.2)
Carbon Dioxide Level 24mmol/L
(19-30)
Chloride Level 106mmol/L
(96-108)
Creatinine 1.1mg/dL
(0.7-1.2)
Eosinophils # (Auto) 0.1x10e9/L
(<0.7)
Eosinophils (%) (Auto) 0.9%
(0.5-11.0)
Estimat Glomerular Filtration 69.2mL/min
ate
Estimated GFR (African 83.9mLUmin
[Americar) TL

 
Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 4 of 44

vet Account + iy Report # 0101-0456
Ethyl Alcohol Level <10.0mgidL [7
(<10.0)
Glucose Level 180mg/dL
(74-99) H
Hematocrit 42.1%
(42.0-52.0)
Hemoglobin 14.1g/dL
(14.0-18.0}
Lymphocytes # (Auto) 1.1x10e9/L
(1.0-4.0)
Lymphocytes (%) (Auto) 13.9%
(16.0-51.0) L
Mean Corpuscular Hemoglobin 31.2pg
(27.0-31.0) H
Mean Corpuscular Hemoglobin 33.59/dL
Concent (33.0-37.0)
Mean Corpuscular Volume 93.1fL
(80.0-99.0)
Mean Platelet Volume 11.7fL
(7.4-10.4) H
Monocytes # (Auto) 0.6x10e9/L.
(0.1-1.0)
Monocytes (%) (Auto) 7.3%
(1.7-12.0)
Neutrophils # (Auto) 5.9x10e9/L
(1.4-7.0)
Neutrophils (%) (Auto) 76.8%
(40.0-75.2) H
Nucleated Red Blood Cells # 0.0x10e9/L
(0-0)
Nucleated Red Blood Cells % 0.0/100 WBC
(0-0)
Platelet Count 264x10e9/L
(130-400)
Potassium Level 4.2mmol/L
(3.3-5.1) |
RDW Coefficient of Vanation 12.4%
(11.5-14.5)
Red Blood Count 4.52x10812/L
(4.70-6.10) L
Red Cell Distribution Width 42.2fL
(35, 1-46.3)
Salicylates Level < 2.6mg/dl.
(<30)
Sodium Level 1438mmol/L
(133-145)
White Blood Count 7.6x10e9/L
(4.8-10.8)

imaging Results
CT
COMPARISON: 6, 10, 2009.

FINDINGS:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No abnormal area of attenuation is seen from acute infarction, hemorrhage, or mass. The midline structures are not
shifted and there are no extra-axial collections. The ventricular system is not dilated in an obstructed configuration. Skull
base and calvanum are unremarkable. Included paranasal sinuses and mastoid air cells are clear.

IMPRESSION: No acute infarction, hemorrhage or mass . No significant injury to brain.

 
Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 5 of 44

vee account + Report # 0101-0456

ical Decisi in
Medical Decision Making
Patient is a 56-year-old male presenting with ultimate mental status after an altercation with police. Although on my initial
interview is extremely agitated and aggressive, during the evaluation by the attending the patient was calm and able to
provide history. The hip he stated at that time he was simply trying to get the police attention. The details of the
altercation were not provided by the patient. Workup is unremarkable, and CT scan is negative for acute injury or
hemorrhage. He will be stable for discharge to police custody

Re-evaluation
Time Re-evaluated: 15:00

Re-evaluation: Improved

Re-evaluation Note

Patient's mental status is much improved. He is alert, oriented,, and able to provide an appropriate history. He notes that
he is willing to be discharged to police custody to “get this over with more quickly." | do not believe he warrants CPEP
evaluation S mental status is baseline, and he has had no questions or concerns of suicidality.

The patient's wife was also alerted to his condition and no questions were answered satisfactorily.

ED Diagnoses
Diagnoses
Diagnoses:
Primary Impression:
Forehead abrasion
Encounter type: initial encounter Qualified Code: S00.81XA - Abrasion of other part of head, initial encounter
Additional Impression:
Closed head injury
Encounter type: initial encounter Qualified Code: S09.90XA - Unspecified injury of head, initial encounter

Disposition

Post ED Plan

Post ED Plan for patient: patient discharged from ED
Condition: Good

Discharge Disposition
Post ED Plan for patient: other (discharged to police custody)

ED Discharge

Post ED Pian

Discharge Disposition: other (sugars police custody)
Condition: Good

Discharged from ED
Diagnoses:
Primary Impression:
Forehead abrasion
Encounter type: initial encounter Qualified Code: S00.81XA - Abrasion of other part of head, initial encounter
Additional impression:
Closed head injury
Encounter type: initial encounter Qualified Code: S09.90XA - Unspecified injury of head, initial encounter
Counseled patient/family: regarding diagnosis, regarding tx plan, on discharge plan

Follow Up/Referral

Clinic patient referred to: Primary Medical Doctor

Patient Instructions: Concussion (ED)

Follow Up Instructions:

You seen today for concussion.

Please follow-up with your primary care provider. {f you do not have a
Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 6 of 44

Met Account # a Report # 0101-0456

primary care provider please see one of the phone numbers listed above and
call to establish primary care. If your symptoms worsen, and you are
unable to see a primary care physician, return to the Emergency Department

Return to ED

Return to ED if (symptoms):

Turn to the emergency department experience persistent headaches, visual
changes, numbness or weakness in her arms or legs, the ambulating, or
change in urinary or bowel habits

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Although each note is personally scanned for syntactic or grammatical errors, unintended but conspicuous translational
errors can occur. Please contact ECMC if there are any questions about the contents of this note.

REED,ESSIE M MD, (RES) Jan 1, 2017 11:58

Attn Physician:

<Electronically signed by ESSIE M REED MD, (RES)>, 01/01/17 1514
<Electronically signed by ANTHONY J BILLITTIER IV, MD>, 01/08/17 1522

3

<Electronically signed by ANTHONY J BILLITTIER IV, MD>
01/08/17 1522

PC Physician: NO PRIMARY CARE PROVIDER
Ref Physician:
Copies To:

 
Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 7 of 44

ERIE COUNTY MEDICAL CENTER
HEALTHCARE NETWORK

462 Grider Street Buffalo, New York 14215
DEPARTMENT OF IMAGING SERVICES

PTN : JAMES Pt Type: DEPER Pt Location: ER
MRN: Attending:
DOB: BO Sex:M Referring: REED, ESSIE M MD, (RES)

   

Service Date: 01/01/17 Time: 1158 Primary Care: NO E PROVIDER
Requisition No: XX-XXXXXXX Account Number:
Procedures: REPORT NO: 0101-0131

0101-0082 CT/CT Head Wo IV
TITLE: CT HEAD
INDICATION: Injury to head. Patient had altercation with police.
TECHNIQUE: Contiguous axial CT images from the skullbase to vertex were obtained without contrast.
Up-to-date CT equipment, automated exposure control, and iterative reconstruction techniques were
employed for radiation dose reduction. CTDIvol: 49.2 mGy. DLP: 938 mGy-cm.
COMPARISON: 6, 10, 2009.
FINDINGS:
No abnormal area of attenuation is seen from acute intarction, hemorrhage, or mass. The midline
structures are not shifted and there are no extra-axial collections. The ventricular system is not dilated in
an obstructed configuration. Skull base and calvarium are unremarkable. Included paranasal sinuses and
mastoid air cells are clear.
IMPRESSION: No acute infarction,hemorrhage or mass . No significant injury to brain.
Films reviewed and dictated by: GREGORY P PHILLIES MD 01/01/17 1326
Signed by: <Electronically signed by GREGORY P PHILLIES MD in OV>
Sign date / time: 01/01/17 1329
01/01/17 1326 XXX

Copies To: NO PRIMARY CARE PROVIDER;
Printed:

ADDENDUM

In accordance with ECMC's quality improvement initiative, this head CT study was secondarily reviewed
and | Concur with the above interpretation.

 
Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 8 of 44

 

PT NAME: KISTNER,JAMES MEDICAL RECORD NUMBER fn
DEPARTMENT OF IMAGING SERVICES REPORT NO: 0101-0131

Addendum dictated by: MICHAEL F TABONE, DO 01/03/17 1724

Addendum signed by: <Electronically signed by MICHAEL F TABONE DO in OV>

Addendum sign date / time: 01/03/17 1726
Addendum Number: 1 Released on: 01/03/17 1726

 
Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 9 of 44

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HEEL NQOODOV £20010103 WAAUO LICZ-NVP-10 08:91 .LGA 17:d1a

CW MOLTHO SNHLaV “Ag pewguoD

Wd 16:06-F ZTOZ/T/1 40 (1Z) UNHLAY “GW AOITHO Aq peuguoD
PUNO] sea SdueYO JUBOMISIS ON,
“S€:80 6007" AVIA-67 JO DOF tim parediuoo us,

DO [RUUOU esimietpO
SRLAYLE SHUTS PoyTeUE TIM UNpAYE saUIS

WASTHLAY ANILNOYW GS-YaLNS9 TWOMAW ALNNOS SINS ZPve-EL LLOZ-NVP-LO

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Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 10 of 44

ne account ? a Report # 0101-0583
ERIE COUNTY MEDICAL CENTER CORPORATION
ED-Attending Supervising Note
462 Grider St.,Buffalo, NY 14215
(716) 898-3000

 

Patient's Name KISTNER,JAMES NR#: RE Account ¢:

Report# 0101-0583 Age/Sex: 56/M

Date of Birth: 60 Admission Date/Time:

Attending Physician: Admitting Service:

Dictating Provider: BILLITTIER,ANTHONY J IV, MD Dictating Date/Time: 01/01/17 1445

Primary Provider: NO PRIMARY CARE PROVIDER

ED-Attending Supervising Note

Attestation
1/1/17 14:33

| personally interviewed and examined the patient and discussed the patient's care with the resident/physician extender. |
reviewed the resident's/physician extender’s note and agree with their findings and plan.

Attending Note

Patient was seen at 1337 hrs. Patientis a 56-year-old white male with a past medical history significant for a tumor
removed from his lumbar spine, renal failure, sarcoidosis of his lungs with a medic pneumothorax from a bronchoscopy,
kidney stone, lumbago, lipoma, post laminectomy syndrome, bursitis, osteoarthritis and alcohol abuse who presented with
Buffalo police after he hit his head on the ground. Patient states he owns rental properties in his neighborhood. He states
he and his son put an eviction notice on one of them earlier today. They subsequently noticed police near the house. He
approached the police to inquire why they were called. He states that the first lease officer said he does not have time to
talk to the patient and drove away. He then approached the second police car and stated he thinks he slipped on ice and
hit his head on the ground, He describes falling forward. He claims he reamers hitting the ground, but does suggest he
had an amnestic period although he remembers calling for his son. He complains of a headache now. Police report that
the patient walked up to their car and purposefully threw himself onto the ground. They state that the patient had no loss
of consciousness and was awake and alert throughout the event. Further, they state that the patient appeared to be
feigning unresponsiveness in the back of the patrol car, but they noticed that his eyelids were blinking. Patient complains
of pain over the back of his head. He states he also has tingling of both hands and especially thumbs probably from the
handcuffs. He states that he had nausea and takes he vomited a little in the patrol car, but states his nausea |s
improving. Patient otherwise denies any visual changes, dental problems, focal weakness, chest pain, shortness of
breath, abdominal pain, change in his chronic low back pain, extremity pain or neck pain. Patient admits to feeling
depressed, but denies any suicidal or homicidal tdeations. He is unsure of the date of his last tetanus shot. He lives with
his sons. He is not employed externally. He does have a primary care provider. Patient states he has seen a psychiatrist
in the past, but not been under treatment for a long time. Patient states he allergic to codeine. He admits to being a
smoker. He states he has had no alcohol to drink since 1999. He denies drug use.

Patient is a white male who appears slightly bizarre at times. However, he is otherwise alert, oriented and oriented +3.
Head is normocephalic. There is a slight abrasion over the mid forehead. There is mild tenderness, There is also mild
bilateral jaw tenderness. Dentition are intact. Trachea is mid line. Pupils are equal, round and reactive to light.
Extraocular muscles are intact. TMs are without evidence of hemotympanum. Chest is nontender. Breath sounds are
equal. Lungs are clear. Back is mildly diffusely tender over the thoracic vertebrate. There is also tenderness over the
lumbar vertebrae, but the patient states thatis chronic. There are erythematous rings around both wrists. She has full
sensation in all extremities. He has 5 over 5 strength in all extremities. Pulses are intact in all exiremities. Cranial nerves
I-12 are intact.

CBC is unremarkable. BMP is significant only for glucose 180. Serum tox is negative. CT of the patient's brain was
interpreted by the radiologist to show no significant injury. EKG shows normal sinus rhythm with sinus arrhythmia with
QTC 393 ms and no acute changes by my interpretation. Patient declines pain medications. We will administer a tetanus
shot and ambulate the patient. If he ambulates well, he will be safe for discharge with police. We'll continue serial
evaluations.

Personally performed: supervision of care, PMH, physical exam, MDM
Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 11 of 44

ves Account #¢ a Report # 0101-0583

Personally reviewed: CT results, EKG results, lab results
Case discussed with: resident

ED Diagoses
Diagnoses:
Primary Impression:
Closed head injury
Encounter type: initial encounter Qualified Code: S09.90XA - Unspecified injury of head, initial encounter
Additional Impression:
Forehead abrasion
Encounter type: initial encounter Qualified Code: S00.81XA - Abrasion of other part of head, initial encounter

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errors can occur. Please contact ECMC if there are any questions about the contents of this note.

BILLITTIER,ANTHONY J IV, MD Jan 1, 2017 14:45
Attn Physician:
<Electronically signed by ANTHONY J BILLITTIER IV, MD>, 01/08/17 1522

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PC Physician: NO PRIMARY CARE PROVIDER
Ref Physician:
Copies To:

 

 
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DATE: 01/01/17 @ 1526 Erie County Med Center EDM **LIVE** PAGE 1.
USER: EDM MNR ER Summary/Departure Report

 

Date of Birth:

 

04/01/47

 

Status Event History:
01/01/17 1135 Received
1142 Triaged
1153 In Room
L207 CT is ready to accept patient
1309 In Room

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Ligne tMost Ree
Bil : (Moet Recs

 

ee a

     

 

 

 

 

 

 

 

 

 

Date O1/01/17 | 01/01/17
Time 12.42 1424
Temp 98.6 97.9

BP 153/78 156/78
Pulse/HR 113 73
Cardiac Rhythm

Resp Rate 16 16

Spo2 95 97
Oxygen

 

 

 

 

 

 

 

 

 

  
 

 

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01/01/17 1159 ER Initial Assessment ALEXANDRIA K POWLEY RN

       

Nursing Note:
Summary of Assessment Findings
56 y/o male to ED in custody of BPD after throwing himself backward onte police
vehicle while it was stopped then throwing himself onto «ground. has c/o 7/16
pain in posterior head and left elbow. abrasion noted to center of anterior
forehead, skin intact. full ROM noted to left elbow, no edema or injury noted.
pt is uncooperative, screaming in room, calling police officers "fascists". aia
cooperate momentarily with writer and provider to give a partial recount of what
happened. when dr left room pt began screaming again and refusing treatment
stating "i just want to go to jail now. i don't want to be here anymore”. also
refused to sign registration paperwork and consent to treat. provider notiried.
BPD at bedside, have all pt's helengings in their custody. awaiting further
orders.

Triage Process

 

 

Patient directly bedded (y/n): N

Pain
Pain Location: posterior head
Pain Severity: 8

Patient Weight

 

Welaght (pounds) 200
Weight (Calculated Grams) 9$0718.474
Weight (Calculated Kilograms) 90.71¢

Respiratory System Assessment
Respiratory Assessment: Clear bilaterally

Cardiovascular System Assessment
Cardiovascular Assessment: Rypertensive
Tachyeardia

 

 

 

 
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DATE: O1/02/17 @ 1526 Erie County Med Center EDM **LIVE** PAGE 2
USER: EDM MNR ER Summary/Departure Report

 

So Date of Birt
Bet BEM Ss

       
 

 

Endocrine System Assessment
En@ocrine Assessment: None Reported

Neurological System Assessment

Neurological Assessment: Head Injury
Dysphagia Screen: Pass ‘
Patient Orientation: Person

Place

Time
Glasgow Coma Scala Bye Opentng Spontaneous
Glasgow Coma Scale Motor Obeys Conmands
Glasqow Coma Scale Verbal Oriented
Glasgow Coma Scale Total 15
Pupil Equality Equal
Right Pupil Size 3
Right Pupil Reaction Brisk
Left Pupil Size 3
Left Pupil Reaction Brisk

Behavior Assessment

Behavior Assessment: Anxious
Agitated/Combative
Other - see comment below
Lethality Risk: No

Sensory System Assessment

 

Vision Assessment: None Reported
Hearing Assessment: None Reported
English Speaking: Y

Oral/Nasal System Assessment

 

Oral Assessment: None Reported
Nasal Assessment: None Reported

Gastrointestinal System Assessment
Gastrointestinal Assessment: Nausea

Genitourinary System Assessment

Genitourinary Assessment: None Reported
Reproductive Assessment: None Reported

Musculoskeletal System Assessment

 

Musculoskeletal Assesament: Pain
Positive CMS
Extramity Temp Warm
Extremity Color Pink
Musculeskeletal additional findings: pain to posterior head and left elbow s/p fal.

Skin Assessment

 

Skin Assessment: Abrasion
Pressure Ulcer Present: N
Skin Note: see nurses note

Habits

 

 

 

 
Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 14 of 44

 

DATE: O1/01/17 @ 1526
USER: EDM MNR

Erie County Med Center EDM **LIVE**
ER Summary/Departure Report

PAGE

yD»

 

 

 

 

Nicotine Use
Smoking Status:
Alcohol Use
Substances Used

Current every day smoker
N
N

History of Physical/Sexual Abuse/Neglect

Physical Abuse

Sexual Abuse

Domestic Violence
Emotional Abuse/Neglect
BRAavocate Called:

Immunizations
Immunizations up-to-date:

Fall Risk Factors
Confusion/Disorientation/Impulsivity
SCORE (Fall Risk 1)
Symptomatic Depression
Score Fall Risk 2
Altered Elimination
Score Fall Risk 3
Dizziness/Vertigo
Scere Fall Risk 4
Gender (Male)

Score FallRisk 5
Bhaministered Anticonvulsants
Score Fall Risk 6
Administered Benzodiazepines
Score Fall Risk 7

Get. up and Go Test
Calculated Fall Risk
Ciinical Fall Risk

Fall Risk

Family Notification
Family Notification
Family note:

Patient Safety
Safety Measures:

HIV Screen

Was HIV test offered:

Date HIV test was offered:
Reason HIV test not offered:
Verbal consent. obtained:

 

Denied
Denied
Denied
Denied
N

Unknown

Able to rise-Single Mave
5

YES
Falling Star Program

Unable
pt in custody

Patient ID band on

Call light within reach
Side rails raised
Stretcher in low position

Y
20170101
Patient Refused

 

 
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DATE: O1/01/17 @ 1526 Erie County Med Center ENM **LIVE** PAGE 4
USER: BDM MNR ER Sumnary/Beparture Report

 

    
 

 
 

“BILLIZTIBR, ANTHON

   

 

O1/01/17 1159 ER Sepsis Screen ALEXANDRIA K POWLEY, RN
RN Screening:

Temperature > 38.5 C (101.3 £) or < 36 C (96.8 BF): N

Tachycardia > 90bpm: Y

Tachypnea > 20bpm: N

Sepsis Screening Result:

Result: Negative

Positive for Sepsis: --

 

O1/O1/17 13320 ER RN Re-Assessment ALEXANDRIA K POWLEY, RN
Re-assessment:
Nurse Re~assessment pt refusing cardiac monitoring. provider aware.

O1/01/17 1420 ER RN Re-Assessment ALEXANDRIA K POWLEY, RN

Pain:

Pain Location: refusing

Pain Severity: 0

Re-assessment:

Nurse Re-assessment pt lying in bed, BPD at bedside. aag x3, calm but net cooperative at
this time. VSS, easy work of breathing. refusing to tell writer if he
is in pain or needs anything. no acute discomfort or distress noted.
MAE. ambulates in room with steady gait independentiy. continues to
call writer derogatory names. also continues to refuse cardiac
monitoring. IVF running. provider notified of pt's refusals and status.
awaiting further orders at this time.

a

OL/OI/17 1142 Triage Screening ADRIANNE A MATTINA, RN
Temperature:

Temperature (Fahrenheit) 99.6
Heart Rate and Respiratory Rate:
Heart. Rate 1135

Respiratory Rate 19

Blood Pressure:

Blood Pressure Systolic 153
Blood Pressure Diastolic 76
SAO2:

SAO2 95

History:

Medical Conditions: SARCOIDOSIS, TUMOR REMOVAL CHEST WALL %3 {LAST 6/9/09)
PATIENT HOME MEDS DENIES

Pain:

Pain Location: FACIAL

Pain Severity: 5

Patient Arrival:

Mode of Arrival Police

Travel:

Travel in last 3 weeks? N
General;

Transfer In? N

HOSPICE? N

HCP /DNR;

             

 

 

 

 
Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 16 of 44

 

 

 

DATE: O1/O01/17 @ 1526 Erie County Med Center EDM **LIVE** PAGE S
USER: EDM MNR ER Summary/Departure Report
KISTNER; JAMES 0

 

oH:

   
 

 

Do Not Resuscitate Order? N

MOLST Form With Patient ? N

Health care proxy? N

Limitation of Treatment ? N

Triage Nurse Assessment (4 Lines Max):

Triage Assessment WITH POLICE AFTER THROWING HIMSELF INTO A POLICE CAR AND THEN ONTO THE
GROUND C/O HEAD AND FACE PAIN. WILL NOT ANSWER QUESTIONS

Immediate Evaluation:

Pt. sent for immediate MD evaluation: N

Behavioral Health Evaluation:
Patient sent directly to CPEP: W
Chief Complaint/Priority:

Current Chief Complaint Facial Pain
EDM Priority 3 - Urgent

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date O1/O1L/1i7
Time 1332 @#| °° &+Y fp ~
IV Intake
Placed PTA:
Time line was placed: 1332
*Location Modifier: Left
*IV Site: Antecubit
*Catheter Type Periphera
Catheter Size: 20
Time IV fluid was hung: 1332
TV Nurmber i
«Type of **HYDRATION** fluid: 0.9% NS
IV Rate: 959
Stop Time (IV)
*[V Hydration Amount Infused:
IV Fluids Continued: ~

 

 

 

 

 

 

 

 

EMS Fluid
[EMS IV Fluid Volume PTA: I | | | | | ]

 

 

 

 

 

 

Allergy/Adverse Reaction Type Severity Date
eodeine Allergy Unknown 01/01/17
Ordered Medication Provider
O1/04/17 1206 Sodium Chloride 0.9% 1000 ML 0 MLS/RR O SEC BAG IV/.Q0M/ONE REBDESS

Bolus

 

 

 

 

 

 

 

 

 

 

 
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DATE: 01/01/17 @ 1526 Erie County Med Center ERM **LIVE** PAGE 6
USER: EDM MNR ER Summary/Departure Report

 

 

 

Medication
Sch Date-Time Ordered Dose Admin Dose
Doc Date~-Time Given — Reason Site User

 

Sodium Chioride 0.9% 1,000 ML (Normal Saline 1,000 ML) IV/.QOM/ONE
FLT

 

   
 

 

 

 

 

Acknowledgements
Ack Date—-Time User

   
 

Tetanus/Diphtheria/Pertussis 0.5 ML Inj (Tdap Adult) (Boostxrix Inj) IM/ONCE/ONE

 

 

 

Acknowledgements
Ack Date-Time User

 

    

   

     
 
   
 

 

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Seana eee CAS seat cre nas boenters

O1/O1/17 1332 ER Saline Lock/Hydration ALEXANDRIA K POWLEY, RN
IV_ Intake:

Time line was placed: 15332

Lecation Modifier: Left

IV Site: Antecubital

Catheter Type Peripheral IV
Catheter Size: 20

Time IV fluid was hung: 1332

IV Number 1

Type of **HYDRATION** fluid: 9.9% NS
TV Rate: 999

      

       

 

SI eee eT Ee

       
 

O1/01/17 1424 ER Vital Signs
Temperature:

Temperature (Fahrenheit) 97.9
Temperature Source: Oral

Heart Rate and Respiratory Rate:
Heart Rate 73

Respiratory Rate 16

Blood Pressure:

Blood Pressure Position Lying
Blood Pressure Systolic 156
Blood Pressure Diastolic 72
SAO2;

SAC2 97

02 Type: Room Air

Refused:

Refused Vital Signs N

 

 

 

 
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USER: EDM MNE ER Summary/Departure Report

 

    
  
  

 
 
 

Physician: BILLITTIER, AN?

 

 

ee

  
 

Test Date Time Result Reference Units
NA. 1/4/17 1330 L143 (133-145) mnoi/ ls
K 1/1/17 1330 4.2 (3.3-5.1) mmol/L
cL 1/1/17 1330 106 (96-108) mmol/L
CO2 1/1/17 1330 24 (19-30) minol/L
GAP L/L/LI 1330 13 (7-18) mmolh/L
GLUC 1/1/17 1330 160 4H (74-939} ma/ab
CREAT 1/1/17 1330 4.1 (Q.7-1.2) ma/aL
eGFR 4/1/17 1330 69.2 (A) mL/min

(A) For full interpretive data see 6¢GFR African American
interpretive comment.

eGFR African Am1/1/17 1330 83.9(B) mL/min
(B) INTERPRETIVE DATA FOR eGFR

The eGFR is estimated using the abbreviated MDRD Study
equation based on creatinine (IDMS calibrated), age, gender
and ethnicity. The eGFR for heth Non-African American and
African American ethnicities are provided. Interpretation
applies to adults only. Estimates of GFR assume serum
creatinine is stable.

>90 Normal

60-90 Possible Chronic Kidney Disease (CKD)

30-59 Stage 3 CKD

18-29 Stage 4 CKD

<15 Kidney failure
eGFR 60-90: Possible Chronic Kidney Disease (CKD).
Currently, the presence of CKD can only be established on
the basis of the GFR alone when GFR is lower than 60mL/min.
For GFR »60mL/min there must be independent evidence of a
kidney problem, as defined by abnormalities of blood and
urine testing (hematuria, proteinuria) or abnormalities on
kidney imaging. An eGFR of 60-390mL/min can be seen as part
of the "normal" ading process.
Reference: Nat'l Kidney Foundation. K/DOOI.Am J.Kid Dis
39; 51-8200,2002.

BUN L/1/17 1339 19 (6-20} my/ aL
cA 1/1/17 1330 9.8 (3.4-10.2) ma/aL

   

THERAPEUTIC. DRUG HONTTORING ===)

Test Date Time Result Reference Units

 

 

 
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DATE: 01/01/17 @ 1526 Erie
USER: EDM MNR

County Med Center EDM **LIVE**
ER Summary/Departure Report

 

PAGE 8

 

Name: -KISTNER, JAMES...

Med Rec #:
Visit #:

Arrival: 02/09/17 -1235

 

 
 

Date of Birth: a
Age: £6°M :
Insurance: SP

Physician: BILLITTIER, ANTHONY of ITV; (MD

 

seam= THERAPEUTIC DRUG MONITORING (continued) s===

Test. Date Time Result Reference Units
ETHANOL 1/1/17 L330 <= 10.0 (Cc) (<10.0} mo /aL
(Cc) RED top tube received and assayed for Ethanol.
See also (D)
SALICYLATE EAL 1330 < 2.6 (<30) mg /ab
ACETAMIN 1/1/17 13230 & J6.9 i (15-30) meg/tals
sees TOXICOLOGY SCREEN. BLOOD) Seah. ©
Test Date Time Result Reference
BARBS 01/01/17 1330 < 0.03 (D)
(D) INTERPRETIVE DATA FOR BARBS
All barbiturate class drug results are preliminary.
The concentrations are an estimate due to the different
reactivity of the various barbiturates and/or their
metabolites with the secobarbital polyclonal antibody.
BENZOS 61/01/17 1330 < 3.0 (E)
(EB) INTERPRETIVE DATA FOR BENZOS

Benzodiazepine class drug results are preliminary.

Concentrations are an estimate due to different reactivity
of various benzodiazepines and/or their metabolites with the

nerdiazepam polyclonal antibody.

oer TORDCOLOGY: SCREEN URINE: es==.

Test

Date Time Result Reference

Units

meg/mbL

ng/mL

Units

 

 

 

 
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DATE:
USER:

01/01/17 @ 1526
EDM MNR

Erie County Med Center EDM **LIVE**
ER Summary/Departure Report

PAGE

 

Name: KISTNER; JANES:

Pate of Birth: a:

Med Reo}: 7 age 86M

visit +: Ei

tasucanca § SP

 

 

Argival: OL/OL/LT. ALS: “Physician: BILLITTIBR, ANTHONY..J IV, MD
maamm TOXICOLOGY SCREEN URINE (continued) #e==

Test. Date Time Result Reference Units
UR AMPHET 01/01/17 1450 NEGATIVE (F) (NEGATIVE)

BR BARBS 01/01/17 1450 NEGATIVE (F) (NEGATIVE)

(F}

UR BENZOS

(G)

UR CANNABS

(Hi)

UR COCAINE

(i)

INTERPRETIVE DATA FOR BARBSU
Cutoff: 200 ng/mL

A positive result is preliminary and indicates the presence
of a single barbiturate in concentrations greater than the
cutoff or combined reactivity of several harbiturates.

01/01/17 1450 NEGATIVE (G) (NEGATIVS)

INTERPRETIVE DATA FOR BENZOSU

Cutoff: 100 ng/mL

A positive result is preliminary and indicates the presence
of a single benzcdiazepine in concentrations greater than
the cutoff or combined reactivity of several
benzodiazepines.

O1/OL/1L7 24560 POSITIVE(H) * (NEGATIVE)

INTERPRETIVE DATA FOR CANNABS

Cutoff: 50 ng/mL

A positive result is preliminary an@ indicates the presence
of a single cannabinoid in concentrations greater than the
cutoff or the combined reactivity of parent drug and/or
metabolites

01/01/17 1450 NEGATIVE (TI) (NEGATIVE)
INTERPRETIVE DATA FOR COCAINE
CutoffF: 300 ng/mL

A positive result is preliminary and indicates the presence
of benzoylecgonine in concentrations greater than the cutoff
er the combined reactivity of parent drug and/or metabolite.

 

 
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DATE: O1/01/17 @ 1526
USER: EDM MNR

Erie County Med Center EDM **LIVE**
BR Summary/Departure Report

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mamm TOXICOLOGY SCREEN URINE (continued) sens

Test.

UR METHADONE

OPIATES

PROPOX

UR OXYCODONE

 

(J)

(KR)

{Ja}

({M}

Date Time Result. Reference Units
OL/OL/i7 1480 NEGATIVE (J) (NEGATIVE)
01/01/17 1450 NEGATIVE (J) (NEGATIVE)

INTERPRETIVE DATA FOR OPIATES
Cutoff: 300 ng/mL

A positive result. is preliminary and indicates the presence
of Opiates in concentrations greater than the cutoff or the
combined reactivity of drug and/or metabolites.

01/01/17 1450 NEGATIVE (K) (NEGATIVE)
INTERPRETIVE DATA FOR PCP
cutoff: 25 ng/mL

A positive result is preliminary and indicates the presence

of phencyclidine in concentrations greater than the cutoff

or the combined reactivity of parent drug and/or

metabolites.
01/01/17 1450 NEGATIVE (L) (NEGATIVE)

INTERPRETIVE DATA FOR PROPOX

Cutoff: 300 ng/mL

A positive result is preliminary and indicates the presence
of propexyphene in concentrations greater than the cutoff or
combine@a reactivity of parent druq and/or metabolites.
01/01/17 1450 NEGATIVE (M) (NEGATIVE)
INTERPRETIVE DATA FOR OXYCODONE
Cutoff: 100 ng/mL

BR positive result is preliminary and indicates the presence
of oxycedene in concentrations greater than the cuteff or
the combined reactivity of parent drug and/or metabolites.

 

 

Date Time Result Reference Units
1/1/17 1330 7.6 (4.8-10,8) K10e9/L
1/1/17 1330 4.52 L (4.70-6.10) xi?el2/L
1/1/47 1330 14.2 (14.0-18.9) g/aL
1/1/17 1330 42.1. {42.0-52.0) &

1/1/17 1330 93.1 (80.0~99.0) fL
1/1/17 1330 31.2 8 (27.0-31.0) pg
1/1/17 1.330 33.5 (33,.0-37.0) g/dL

 

 

 

 

 
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USER: EDM MNR

Erie County Med Center EDM **LIVE**

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ammm CBC (continued) ====

RDW CV
RDW SD
PL CT
MPV

 

BASO%
EOS*%
NEUTS
LYMPHS
MONCS
NRBC%
BASO#
EOS#
NEUT# (AUTO)
LYMPH#
MONO#
NRBC# ABS

Date

1/1/17
1/1/17
1/1/17
1/1/17

Date

1/1/17
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Result

12.4
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11.7

Result

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Reference

(11.5-14.5)
(35.1-46.3)
(1.30-400}
(7.4-10,.4)

Reference

(09,0-2.0)
(O0.5-11.0)
(40.0-75.2)
(16.6-51.0)}

{1.7-12.0)
(9-0)
(<0.2)
(<0.7)
(1.4-7.0)
(1.0-4.0)
(9.1-1.0)
(O-O0}

fl
x1LO0e9/1L
£L

Units

oe OP HP

/100 WBC
X10e9/L
R1L0e9/L
x10e9/h
x1d0e9/L
x10e9/L
x10e9/L

 

 

 
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DATE:
USER:

O1/O1/1L7F @ 1526
EDM MNP

Erie County Med Center EDM **LIVE**
EK Summary/Departure Report

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Specimen Test /Procedure
0101:C00233S NA

Specimen Result Verified Dates and Times.

Collected Verified
01/01/17 1330 01/01/17 1412

Hours
0.7

 

 

:CTOON2SS

02/01/17 1330 01/01/17 1412

 

 

 

 

 

 

0101:H00195s HGB

 

 

 

 

O1/9021/47 1330 01/01/17 1348

 

 

:HO0195S

01/01/17 01/01/17

 

HOO195S

O101:HO0195S MPV

 

QO1021:H00195S NRBC

 

   
 

 

 

 

 

 

01/01/17

 

6102 :CbD00022S

0101;CD000225

 

 

 

 

 

01/02/17
©
04/01/17

 

 

 

 
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DATE: O1/01/17 @ 1526 Erie County Med Center EDM **LIVE**
USER: EDM MNR ER Summary/Departure Report

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Bee ee ea ee

Ordered Procedure Name Ordering Provider

01/03/17 1206 IV - Saline Trap SIE

O:

      

    

   
  

 

REED, ES
5 Si
REED, ESSTE

 

1206 REED, BSSIE

  

REED, ESSIE

REED, ESSIE
E
BILLITTIER, ANTHONY

   
 

   

a IV,

 

Primary Impression:

Forehead abrasion

Secondary Impressions:

Closed head injury

Disposition: ERIE CITY HOLDING CENTER Departure Date/Time:
Comment ;:

Condition: Good

Pt Instructions: Concussion (BD)

Departure Forms: HED Discharge Instructions

 

ps a co a EM OINOR ER 0 cece ede omic eee

01/01/17 1520 BR Discharge Screening

Attending MD:
Enter ER Attending: BILLITTIER, ANTHONY MD

Vitel Signs:

Temperature (Fahrenheit) 97.5
Reart Rate 73

Respiratory Rate 156

Blood Pressure Systolio 156
Blood Pressure Diastolic 738
SAO2Z 99

Pain Severity: 0

Patient Instructions:

Demonstrated understanding of instruction by: PT REFUSED VITALS AND TES

Barrier Instruction (defined) NONE

Discharged Patients ONLY**# kee eH eeeHEN HH:

IV site removed and free from redness/swelling? N
Comment NA

Clothing appropriate for the weather? Y

Property with patient? Y

Mode of transport at time of discharge OFFICERS
Accompanied by: OFFICERS X 2

 

MD,

Lee sepors€ OA 1S. yaad bis tr
eo ca ea

     
    
 
   
   
    

    

       

  

ACTIVEYes

01/01/17 ~

JAMIE L Woop, RN

 

1526

 

 
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Bow

Eras County Manica. Centar
CorPorarTION

Page 1 of 5

Patient: KISTNER JAMES

Account Num:

Med Rec Num:

Location: EMERGENCY ROOM
Physician: BILLITTIER, ANTHONY 3...
Date: 01/01/17

 

Patient Visit Information

You were seen today for:

Forehead abrasion
Closed head Injury

Staff

Your caregivers today were:

Physician BILLITTIER, ANTHONY J IV, MD
Practitioner ESSIE M REED
Nurse AKP

Patient Instructions Reviewed

Concussion

received 01/01/17 - 1520

ED Discharge Instructions

You have received emergency treatment at ECMC. Follow the instructions carefully, If your
condition worsens, or you develop new symptoms, call your follow-up provider for
advice. Call 911 if you are experiencing a medical emergency, otherwise follow up as instructed.

RETURN TO THE ECMC EMERGENCY DEPARTMENT IF YOU HAVE ANY OF THE FOLLOWING

SYMPTOMS:

Turn to the emergency department experience persistent headaches, visual
changes, numbness or weakness in her arms or legs, the ambulating, or

change in urinary or bowel habits

FOLLOW UP WITH:

 

 
as having HIV e«vmntame nr infertion and intarmotion raracding « -an--—'+

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Page 2 of 5
Patient: Nn ors
Account Num;
Med Rec Nun:

Physician: BILLITTIER ANTHONY J...

CoRrPaRATION Date: 01/01/17

 

If X-Rays were taken, they were interpreted by an Emergency Physician while you were being
treated in the ED. These tests will be reviewed by appropriate specialists the next day.

IF YOU HAVE ANY QUESTIONS ABOUT YOUR CULTURE RESULTS CALL 716-961-7723
AFTER 48 HOURS

Please follow up with your primary care provider for any blood pressure over 120/80 and to
review any medication changes during this visit.

** Please give a copy of this information to your primary care provider**

Crisis Hotline Number 716-834-3131(local) and the National Hotline Number 1-800-273-TALK
(8255)
Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 27 of 44

Page 3 of 5
Patient: KISTNER JAMES
Account Num; =
Med Rec Num:
Enis COUNTY MEDICAL CentER Location: EMERGENCY ROOM

Physician: BILLITTIER, ANTHONY J...

CORPORATION Date: 01/01/17

 

Concussion
WHAT YOU SHOULD KNOW:

A concussion is injury to the tissue or blood vessels of the brain. It is also called a
closed head injury or mild traumatic brain injury (MTBI). A concussion is usually
caused by a bump or blow to the head from a fall, a motor vehicle crash, or a
sports injury. Sometimes being forcefully shaken may cause a concussion. A
concussion changes how the brain works and should be taken seriously.

INSTRUCTIONS:

Medicines:

® Ibuprofen or acetaminophen: These medicines decrease pain. They are
available without a doctor's order. Ask your primary healthcare provider
which medicine is right for you. Ask how much to take and how often to take
it. Follow your primary healthcare provider's directions. These medicines can
cause stomach bleeding if not taken correctly. Ibuprofen can cause kidney
damage. Do not take ibuprofen if you have kidney disease, an ulcer, or
allergies to aspirin. Acetaminophen can cause liver damage. Do not drink
alcohol if you take acetaminophen.

® Take your medicine as directed. Call your primary healthcare provider if
you think your medicine is not helping or if you have side effects. Tell him if
you are allergic to any medicine. Keep a list of the medicines, vitamins, and
herbs you take. Include the amounts, and when and why you take them,
Bring the list or the pill bottles to follow-up visits. Carry your medicine list
with you in case of an emergency.

Follow up with your primary healthcare provider as directed: Write down
your questions so you remember to ask them during your visits.

Self-care:

@ Have someone wake you regularly during the night: Ask if someone
should wake you at night after your concussion. Ask how often to do this. It
is not dangerous to sleep, but you may need to be woken to see if you are
thinking clearly. This person should ask you questions such as your name or
address.

 
Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 28 of 44

Page 4 of 5
Patient; KISTNER JAMES
Account Num:
Med Rec Num: stints

Physician: BILLITTIER, ANTHONY J...

CORPORATION Date: 01/01/17

 

® Ice: Ice helps decrease swelling and pain. Ice may also help prevent tissue
damage. Use an ice pack or put crushed ice in a plastic bag. Cover the ice
pack with a towel and place it on your head for 15 to 20 minutes every hour
for up to 2 days after your injury.

® Rest: Rest in bed or do quiet activities for 24 hours after your concussion.
You may return to normal activities after your symptoms go away.

@ Activities: Ask your primary healthcare provider when you can return to
work or sports. You should not return to sports until you no longer have
symptoms from your concussion.

Contact your primary healthcare provider if:
@ You have nausea or vomiting.

® You feel more sleepy than usual,
@ Your symptoms get worse.

® You have arm or leg weakness, numbness, or new problems with
coordination.

® You have questions or concerns about your condition or care.

Return to the emergency department if:
@ You have a severe headache.

® You vomit multiple times
Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 29 of 44

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ae Patient: i
2 bt Account Num:
pind Med Rec Num: Sa

: cae Cen Location: EMERGENCY ROOM
fam Souyry Man Ter Physician: BILLITTIER, ANTHONY J...

{SC OORATION Date: 01/01/17

 

 

@ Someone tries to wake you and cannot do so.

@ You have a seizure, increasing confusion, or a change in personality.

@ Your speech becomes slurred, or you have new vision probiems.

® You have arm or leg weakness, numbness, or new problems with
coordination.

@ You have blood or clear fluid coming out of the ears or nose.

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The above information is an educational aid only. It is not intended as medical
advice for individual conditions or treatments. Talk to your doctor, nurse or
pharmacist before following any medical regimen to see if it is safe and effective

for you,

 

 
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ERIE COUNTY MEDICAL CENTER CORPORATION

CPEP Medical Screening
462 Grider St.,Buffalo, NY 14215
(716) 898-3000

Patient's Name KISTNER, JAMES ure: TD occount +

 

Report# 0101-0682 Age/Sex: 56/M

Date of Birth HIG Admission Date/Time:

Attending Physician: Admitting Service:

Dictating Provider: SIMON, MARIE PA-C Dictating Date/Time: 01/01/17 1719

Primary Provider: UNKNOWN PRIMARY CARE PROVIDER

 

History of Present Iliness
Allergies/intolerances:

Coded Allergies:

codeine (Verified Allergy, Unknown, 1/1/17)
History Source: patient, old records
Exam Limitations: no limitations

History of Present Iliness

History of Present Illness

Patient is a 56 year old white male with a history of ETOH abuse/depression (2009 admission) who presents to CPEP
today on 9.41 papers for evaluation. Patient was seen in medical ED a few hours earlier for medical clearance after
patient questionably hit his head. Per earlier visit and per police explanation, patient threw himself on the floor in front of
police officers as patient went up to them voluntarily to speak with them, (see previous visit note written by supervising
attending.) Patient stated he may have slipped on ice. Patient was brought to med ED for workup including CT scan of
head and blood work which were unremarkable. During his visit, patient was agitated and uncooperative. Later patient
became cooperative and admitted to doing this for attention. He was discharged in the custody of police, but then within
a couple hours returned for CPEP evaluation. Patient is requesting to leave AMA but has been explained he is on 9.41
papers and mandatory assessment is necessary. Patient has a medical history of significant for a tumor removed from
his lumbar spine, renal failure, sarcoidosis of his lungs with a medic pneumothorax from a bronchoscopy, kidney stone,
lumbago, lipoma, post laminectomy syndrome, bursitis, and osteoarthritis. He states he has a headache from his fall
earlier, sob, chest pain, abdominal pain, nv, f/c. His urine toxicology from today is positive for Cannabis.

Past Histor

Past History

Handedness: right

Psychosocial History: substance abuse (hx alcohol abuse)
Family History: reviewed/not pertinent

Substance: Positive marijuana, Positive tobacco

Review of Systems
Review of Systems
Negative unless otherwise stated in HPI

Physical Examination
Physical Exam
Vital Signs

Vital Signs
_Date Time | Temp | Pulse | Resp | B/P Pulse Ox | O2 Delivery | 02 Flow Rate | FiO2 |
4/1/17 16:51 | 98.2 89 18 | 172/99 |

 

 

 

 

 

 

 

 

 

 

 

 
WOT COW YOSEF THE WY BWssPVOCsesae gee FEFHOTE FHHSES Bases SHEeEES BOE MESES SHEP wT sTEsENs Ww Fer Ss ESESS BS sseese ms om

Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 31 of 44

General: alert, oriented X3

HEENT: Atraumatic

Neck: no JVD

Lungs: Clear to auscultation, Normal air movement
Cardiovascular: regular rate & rhythm, pulses are normal
Musculoskeletal: normal gait

Skin: dry & intact

Neuro: no focal deficit

Assessment & Plan
Medically cleared: Yes
Problems:

Additional Comments
AIP:

Psychiatric Evaluation: Defer to primary team
Tobacco use: Nicorette gum PRN
Headache: Tylenol PRN

DRAGON DISCLAIMER: Dragon voice-recognition software may have been used to prepare this typewritten note.
Although each note is personally scanned for syntactic or grammatical errors, unintended but conspicuous translational
errors can occur. Please contact ECMC if there are any questions about the contents of this note.
SIMON, MARIE PA-C Jan 1, 2047 17:19

Attn Physician:

<Electronically signed by MARIE SIMON PA-C>, 01/01/17 1729

PC Physician: UNKNOWN PRIMARY CARE PROVIDER
Ref Physician:
Copies To:
Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 32 of 44

vei Account # i Report# 0101-0693

ERIE COUNTY MEDICAL CENTER CORPORATION
NOTES-Psych
462 Grider St.,Buffalo, NY 14215
(716) 898-3000

 

Patient's Name KISTNER JAMES MR#: EE Account +:
Report# 0101-0693 Age/Sex: 56/M

Date of Birth: Bo Admission Date/Time:

Attending Physician: Admitting Service:

Dictating Provider: CU/,XINGJIA MD Dictating Date/Time: 01/01/17 1735

Primary Provider: UNKNOWN PRIMARY CARE PROVIDER

 

General

Chief Complaint: Z-Psychiatric Evaluation

Stated Complaint: 9.41, THREW SELF AT POLICE VEHICLE

Time Seen by MD: 17:32

Comment:

Pt seen and interviewed. Notes reviewed. Briefly, this is a 56 yrs old white male with h/o anxiety disorder and alcohol use
disorder, THC abuse, h/o prior CPEP visit, coming to CPEP with 941 paper after voicing SI, with plan to go to motel and
drink alcohol to death. He says that he has been sober for four months. Somehow, he was panicky and then suicide
thought pops up. On further study, it is found that he went to MED this morning after trying to throw himself over a police
car. He was acting odd at MED and then his wife verified that was his baseline. he was not sent CPEP from MED
because of that. he was d/ced and then comes back with SI. He is familiar with the CPEP procedure and full eval
pending.

Initial assessment completed: Yes

Mental Status Exam

Mental Status Exam

Appearance: no apparent distress

Attitude: cooperative

Behavior: appropriate

Speech: normal rate, normal rhythm, normal volume

Mood Narrative:

"| want anxious”
Mood: anxious
Affect: reactive
Thought Process: organized, goal directed, reality based
Thought Content: REPORTS: suicidal ideations

Cognitive Functioning

Orientation: Oriented to: Person, Place, Time
Intellectual Functioning: intact

Insight: fair

Judgement: fair

CUI, XINGJIA MD Jan 1, 2017 17:35

Attn Physician:
<Electronically signed by XINGJIA CUI MD>, 01/01/17 1740
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vet Account | TT == poport)

PC Physician: UNKNOWN PRIMARY CARE PROVIDER
Ref Physician:
Copies To:

Addendum: CUI,XINGJIA MD on 1/1/17 @ 18:59

first part of triage note was loaded by mistake. please refer to brief psych eval for correction info.
Attn Physician:

<Electronically signed by XINGJIA CUI MD>,01/01/17 1900

PC Physician: UNKNOWN PRIMARY CARE PROVIDER
Ref Physician:
Copies To:

 
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ERIE COUNTY MEDICAL CENTER CORPORATION

MH-Mental Health Assessment
462 Grider St., Buffalo, NY 14215
(716) 898-3000

 

Patient's Name KISTNER JAMES MR#: EE ccount +:
Report# 0101-0754 Age/Sex: 56/M

Date of Birth: EGO Admission Date/Time:

Attending Physician: Admitting Service:

Dictating Provider: CUI, XINGJIA MD Dictating Date/Time: 01/01/17 1858

Primary Provider: UNKNOWN PRIMARY CARE PROVIDER

 

CPEP RN Triage/Initial

Physician Comments

I have reviewed the above RN documentation, Please see below assessment for details of MD
comments,

Brief Assessment

General

Chief Complaint: Z-Psychiatric Evaluation

Time Seen by MD: 18:50

History of Present Illness

Pt seen and interviewed. Notes reviewed. Pt's GF, Rachel, contacted to get collateral info. Briefly, this is a 56 yrs old
white single male, father of seven kids, without psych h/x, no h/x alcohol and drug abuse, no prior CPEP visit, corning to
CPEp with 941 paper, stating he throwing himself on the police car, for which he categorically denies. He says that he
saw two cops car in front of his property. He went to find out why with his son. Cops in the first left without talking to him.
He tried to approach the second. In the process, he fell and hurt his head. He was sent to ECMC ER for check up. he
was medically clear and then was sent to police station to book in. Thereafter he was sent here. He was not prepared for
the event. he has no depression or SI. denies any intention to hurt anyone. he is rational and logic. there is no alcohol
and drug abuse issue. There is clearly no indication for acute psych admission. Above info is confirmed with his girlfriend,
Rachel. he is going to be d/ced back to home, with MH f/u per his choice.

Brief Emergency Visit complete: Yes

Medically cleared: Yes

Mental Status Exam

Mental Status Exam

Appearance: no apparent distress

Attitude: cooperative

Behavior: appropriate

Speech: normal rate, normal rhythm, normal volume
Mood: anxious

Affect: reactive

Thought Process: organized, goal directed, reality based
Thought Content: REPORTS: suicidal ideations

Cognitive Functioning

Orientation: Oriented to: Person, Place, Time
Intellectual Functioning: intact

Insight: fair

Judgement: fair
Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 35 of 44

Risk Assessment

Screening of Suicide Risk
Wish for death/sleep/not wake: No, including jast 6 months
Had thoughts of killing self: No, including fast 6 months
Access to means: No
Done/started/prepared end life: No
Done something to harm self: No

Chronic/Acute Risk Factors

Risk Factors: 0 (non-factor) Command halluc./30days
0 (non-factor) Depr./loss of interest
0 (non-factor) Extreme anger-current
0 (non-factor) Family Hx of Suicide
0 (non-factor) Feelings of guilt/shame
0 (non-factor) Feelings of hopelessness
0 (non-factor) History of Impulsivity
0 (non-factor) Lack of future plans
0 (non-factor) Lack of support/community
0 (non-factor) Mental Illness/active
0 (non-factor) Recent losses/bad news
0 (non-factor) Substance Withdrawal
0 (non-factor) Trauma/maltreatment

Protective Factors
Protective Factors: 0 (non-factor) Compliant with psy meds:
0 (non-factor) Compliant with psy tx:
0 (non-factor) Cult. discourage suicide:
0 (non-factor) Improved coping skills:
0 (non-factor) Improved mood:
0 (non-factor) Insight into problems:
0 (non-factor) Pos. therap. alliance:
0 (non-factor) Realistic future plans:
0 (non-factor) Rel. discourage suicide:
0 (non-factor) Resilience to stressors:
0 (non-factor) Resolved feeling of loss:
0 (non-factor) Supportivefamily/friends:
Overall Assessment of Risk
To self if discharged home: LOW

Narrative:
He comes to CPEP for throwing himself on police car. There is no lethality issue. He is not depressed and denies any on-
going SI. the risk of suicide is low

Harm to Others/Aggressive Beh.

Risk of Harn to Others: 0 (non-factor) Antisoc/Borderline traits
0 (non-factor) Brain Injury (e.g. TBI}
0 (non-factor) Directed anger/hostility
O (non-factor) Hx of Violence/6 mths
0 (non-factor) Hx/mandated tx for D.V,
O (non-factor) Hx/mandated tx for anger
0 (non-factor) Impulsivity
0 (non-factor) Subst abuse/withdrawal
0 (non-factor) Violent ideat./past 6 mth

 
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MR} Account | Report# 0101-0754

Narrative:
he is calm and cooperative. no indication of aggression.
Risk of aggression if DC home: LOW

Treatment Recommendations
Diagnosis

Primary Diagnosis: Adjustment d/o (mixed)

Recommendations
Recommended visit doc: brief visit documentation only

DRAGON DISCLAIMER: Dragon voice-recognition software may have been used to prepare this typewritten note.
Although each note is personally scanned for syntactic or grammatical errors, unintended but conspicuous translational
errors can occur. Please contact ECMC if there are any questions about the contents of this note.

CUI,XINGJIA MD Jan 1, 2017 18:58

Attn Physician:
<Electronically signed by XINGJIA CUI MD>, 01/01/17 1859

PC Physician: UNKNOWN PRIMARY CARE PROVIDER
Ref Physician:
Copies To:

 

 
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Summary View for KISTNER, JAMES C Page 1 of 3

CG OLY Family Care Center

\ J) CatholicHealth System
A Departnent of Mery Heeysital of Buffalx
Office Visit
Patient: KISTNER, JAMES C Provider: Gary C. Wysocki, RPA-C
DOB :60 Age: 57 Y Sex: Male Date: 11/29/2017

PCP: Najroul H Khan

 

Reason for Appointment
1, DSRIP-follow up for shoulder pain

History of Present Hiness

DSRIP ER ffu, new patient transfer from LSV clinic. Pt presented to ER with 6 weeks of shortness of
breath. Exertional dyspnea moreso than at rest. Does have hx of sleep apnea. Does have LE edema. Does get
PND. "unsure if he has orthopnea" because of his CPAP/OSA hx. Pt has chest pain regularly. He walked from
OLV hospital to our office and had to stop 4-5x. Social situation - has 7 kids at home, 3 in diapers, 2 of which
are twins and states spouse has mental health issue and incapable of caringfor his children alone for more
than 3-4 hours. ,

Current Medications

Discontinued

@ Nicotine Step 121 MG/24HR Patch 24 Hour 4 patch to skin Transdermal Once a day

@ Claritin 10 mg Tablet 1 tablet Orally Once a day

» Albuterol Sulfate 108 (90 Base) MCG/ACT Aerosol Powder Breath Activated 1 puff as needed Inhalation
every 4 hours as needed (prn) for

® Azithromycin 250 MG Tablet 2 tablets on the first day, then 1 tablet daily for 4 days Orally Once a day
@ Tessalon Perles 100 mg Capsule 1 capsule as needed Orally Three times a cay

e Nicotine 2 MG Gum 1 piece as needed Mouth/Throat 24 time(s) a day

¢ Nicotine 14 MG/24HR Patch 24 Hour 1 patch to skin Transdermal Once a day

® Atorvastatin Calcium 40 MG Tablet 1 tablet Orally Once a day

e Medication List reviewed and reconciled with the patient

Past Medical History
Sarcoidosis 1981 no follow up.
Schwanomina of spine s/p surgery.
MVA-hit by a car 1/1/2017. .

Surgical History
schawnoma tumor lower back (spine)
open lung biopsy-sarcoidosis

Family History
Father: deceased, diagnosed with Hypertension
Mother: alive 87 yrs, diagnosed with Cancer

 

DOB: 0 Date: 11/29/2017
Note generated by eClinicalWorks EMR/PM Software (www.eClinicalWerks.corn)

oa JAMES C Provider: Gary C, Wysocki, RPA-C

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Summary View for KISTNER, JAMES C Page 2 of 3

Paternal Grand Father: deceased

Paternal Grand Mother: deceased

Maternal Grand Father: deceased

Maternal Grand Mother: deceased

3 sister(s) - healthy. 4 son(s) , 3 daughter(s) - healthy.

Social History
Tobacoo Use}
Smoking Are you a: former smoker, How long has it been since you last smoked? 1-3 months.

Drug/Alcohol:
Alcohol Did you have a drink containing alcohol in the past year?: No, Points: 0, Interpretation: Negative.

4-6 cigarettes/day x 44 years.

Allergies
Codeine Sulfate: Headaches

Hospitalization/Major Diagnostic Procedure
surgeries

Review of Systems
CHS Review of Systems:

General/Constitutional: no complaints. Cardiovascular: Positive for:, chest pain, chest pain with exertion,
paroxysmal nocturnal dyspnea, edema. Respiratory: Positive for:, shortness of breath, worse with exertion.

CHS Nursing:

Circle of Care: Reviewed and updated with patient.. Abuse Screening: Is there a history of domestic
violence?, No, Do you feel safe at hame’?, Yes, Is anyone hitting/hurting or causing you fear?, No, Are you
concerned you might hurt someone?, No. Would you like a chaperone for your exam: Declined. Barriers to
Care: No communication barriers noted.

Vital Signs
Ht 69.5, Wt 227.4 lbs, BMI 33.10 Inclex, Weight Change 17.4 Ib, BP 130/90 mm Hg, HR 80, Temp 96.4 F, Pain
scale 2 1-10, RR 16.
Examination
General Examination:
Constitutional: in no acute distress. NECK/THYROID: no carotid bruit, no thyroid abnormality, no
JVD. CARDIOVASCULAR: regular rate and rhythm, somewhat muffled S1S2, no
murmur. RESPIRATORY: clear to auscultation bilaterally, specifically no crackles or
wheezes. EXTREMITIES: 2+ pitting ederna bilaterally to mid calf. PERIPHERAL PULSES: normal (2+)
bilaterally.

Assessments

1. Exertional dyspnea - ROQ6.09 (Primary)
2, Exertional chest pain - RO7.9

3, Lower extremity edema - R60.0

Treatment
1. Exertional dyspnea
imaging: Echocardiogram

Imaging: Exercise Treadmill Stress Test

Clinical Notes: COBRA refusal completed by patient - he declines to go back to ER as directed and only wishes
to be assessed as outpatient for cardiac w/u. Needs ECHO and Stress done asap, Advised to call 911 for chest
pain/dyspnea. Advised of potential fatal outcome if cardiac problem is at fault. Likelihood angina/CAD vs CHF
vs cardiomyopathy.

 

patie JAMES C Provider: Gary C. Wysocki, RPA-C
DOB: 0 Date: 11/29/2017
Note generated by eClinicalWorks EMR/PM Software (www.eClinicaiWorks.com)

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Summary View for KISTNER, JAMES C Page 3 of 3

2, Exertional chest pain

Imaging: Echocardiogram
imaging: Exercise Treadmill Stress Test

Clinical Notes: as above.

3. Lower extremity edema

Imaging: Exercise Treadmill Stress Test

Clinical Notes: as above.

4, Others
Clinical Notes: Long discussion with patient. Refuses return to ER for inpatient workup. Aware of potentially
fatal outcome and accepts risk.

Follow Up
after stress and echo

 

Electronically signed by Gary Wysocki , RPA-C on 11/29/2017 at 02:16 PM EST
Sign off status: Completed

 

Patient: ER, JAMES C Provider: Gary C. Wysocki, RPA-G
DOB: 0 Date: 41/29/2017

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Summary View for KISTNER, JAMES C Page 1 of 3
Office Visit

Patient: KISTNER, JAMES C : .

Account er: External MRN: a Provider: Najmul H. Khan. DO

DOB: 60 Age: 58Y Sex: Male Date: 06/29/2018

Phone: 716-895-2949. CHN#:

Address: 33 SCHMARBECK AVE, BUFFALO, NY-14212
Patient's Default Facility: OLV Familycare Center

 

Subjective:
Chief Complaints:
1. DSRIP-follow tip fo shoetness of breath.

HPI:

ss Tn last two weeks have you been bothered by Little interest or pleasure in doing things

No, Feeling down, depressed, or hopeless No.
- HPI:

\This is a 58 years old Caucasian male came to the office for emergency foom follow-up, Patient was in
the emergency room with severe shortness of breath, swelling of bilateral lower extremities. Patient has a
past medical history significant for obstructive sleep apnea, chronic, metastatic disease of the lung, chronic
obstructive pulmonary disease, hypercholesterolemia. Patient had the echocardiogram done in 2017 which
showed normal ejection fraction 60% and no cardiac structural abnormality. Electrocardiogram done in the
emergency room shows normal sinus rhythm no sign of acute coronary disease, patient was seen by Dr.
Buscaglia pulmonologist and was told that most likely patient has no sarcoidosis on chronic obstructive
pulmonary disease. Patient last lipid profile shows total cholesterol is 217 and LDL of 204. Patient is
complaining of severe shortness of breath with mild exertion. I will order the echocardiogram. on the and
start the patient on furosemide 40 mg 1 tablet daily I will see the patient in 2 weeks.
ROS:

CHS Review of Systems:
General/Constitutional:; no complaints. ENT: no complaints, Negative for:, hearing loss,

congestion. Cardiovascular: no complaints, Negative for:, chest pain, dyspnea with exertion,
edema, palpitations. Respiratory: no complaints, Negative for:, cough, shortness of breath.
Gastrointestinal: no complaints, Negative for:, nausea, vomiting, diarrhea, constipation, pain in
abdomen. Genitourinary: no complaints, Negative for:, dysuria, urinary frequency.
Musculoskeletal: no complaints, Negative for:, joint pain, joint swelling, joint stiffness, muscle
pain. Neurological: no complaints, Negative for:, headache, seizures, motor/sensory loss.
Psychiatric: no complaints, Negative for:, anxiety, depression, suicidal ideations. Dermatologic: no
complaints, Negative for:, rash, lesion(s), lumps.

Circle of Care: Reviewed and updated with patiént.. Abuse Screening: I$ there a history of
domestic violence?, No, Do you feel safe at home?, Yes, Is anyone hitting/hurting or causing you
fear?, No, Are you concerned you might hurt someone?, No. Would you like a chaperone for your
exam: Declined. Barriers to Care: No communication barriers noted. Documented By: Barbara Walh
LPN.

Medical History: Sarcoidosis 1981 no follow up, Schwanomma of spine s/p surgery, MVA-hit by a car
1/1/2017, Acute bronchitis, Routine adult health maintenance, Wrist paln, Adjustment disorder, Lower

extremity edema,
Surgical History: schawnoma tumor lower back (spine) , opén lung biopsy-sarcoidosis .
Hospitalization /Major Diagnostic Procedure: surgeries , CP-Observation 11/30/2017.

Family History; Father: deceased, diagnosed with Hypertension. Mother: alive 87 yrs, diagnosed with
Cancer, Paternal Grand Father: deceased. Paternal Grand Mother: decéased, Maternal Grand Father:
deceased. Maternal Grand Mother: deceased. 3 sister(s) - healthy. 4 son(s) , 3 daughter(s) - healthy. .

Social History:

. Tobatco Use: Smoking Are you a: former smoker, How long has it been since you last smoked? 6-12
months.

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Summary View for KISTNER, JAMES C Page 2 of 3

Socia! Determinants of Health: Screening Do you find it difficult to interact with others or maintain an
adqueate social life? No, Do you find it difficult to meet the daily needs of food, housing, or transportation?
No, Date Performed: 01/08/2018, Documented by: Diane Miesowicz,MA .
DAST. 1: Screening Completed Date: 06/29/2018, In the past 12 months, have you used drugs other
than those required for medical reasons? No.
Drua/Alcohal: Alcohol Did you have a drink containing alcohol in the past year? No, Points
0, Interpretation Negative.
4-6 cigarettes/day x 44 years Lives alone, significant other and children live next door, independent with
ADL, does not drive, uSes public transportation or gets a ride.
Medications: Taking Ventolin HFA 108 (90 Base} MCG/ACT Aerosol Solution 2 puffs as needed Inhalation
every 6 hrs, Taking Advair Diskus 250-50 MCG/DOSE Aerosol Powder Breath Activated 1 puff Inhalation
Twice a day, Taking Atorvastatin Calcium 40 MG Tablet 1 tablet Orally Once a day, Discontinued PredniSONE
20 MG. Tablet 2 tablet Orally Once a day, Medication List reviewed and reconciled with the patient

Allergies: Codeine Sulfate: Headaches.

Objective:
Vitals: Ht 69.5, Wt 244.4 Ibs, BMI 35.57 Index, Weight Change 13 Ib, BP 128/84 mrn Hg, HR 84, Temp
97.8 F, Pain seale 4 1-10, RR 20.
Examination:
General Examination:

Constitutional: In no acute distress, looks well. EYES: bilateral conjunctivits with sever tearing
of the eyes, HEENT: HEAD:, atraumatic, normocephalic, EARS:, tympanic membranes normal,
EYES:, clear conjuctiva, Extra Ocular Muscles Intact (EOMD), Pupils Equal, Round, Reactive to
Light and Accommodation (PERRLA), NOSE:, nose clear, THROAT:, throat clear. ORAL
CAVITY: unremarkable. NECK/THYROID: no carotid bruit, no thyroid
abnormality. CARDIOVASCULAR: regular rate and rhythm, normal S1S2. RESPIRATORY: clear to
auscultation bilaterally. NEUROLOGIC EXAM: alert, oriented, no gross motor/serisory
deficit. SKIN: no rash or skin lesions. EXTREMITIES: 2+ BL edema.

Assessment:

Assessment:

1. Abdominal discomfort ~ R10.9 (Primary}

2. Allergic conjunctivitis, unspecified laterality - H10.10
3, SOB (shortness of breath) -R06.02  —°

4, Lag edema - R60.0

Plan:
1, Abdominal discomfort
Imaging: Ultrasourid.; Abdomen and Pelvis
Bonafede, Danielle 06/29/2018 02:34:07.PM EDT > pls obtain prior auth for above test.,.would like
to go to mercy hospital of buffalo
2. Allergic conjunctivitis, unspecified laterality
_ Start Cromalyn Sodium Solution, 4%, 1 drop into affected eye, Ophthalmic, Four times a day, 30 days, 1,
Refills 2; Start Zyrtec Allergy Tablet, 10 MG, 1 tablet, Orally, Once a day, 30 day(s), 30, Refills 2 .
3. SOB (shortness of breath)

Imaging: Echocardiogram
Bonafede, Danielle 06/29/2018 02:35:16 PM EDT > pls obtain prior auth for above test...would like

to go to mercy hospital
4, Leg edema
Start Lasix Tablet, 40 MG; 1 tablet, Orally, Once a day, 30 day(s), 30, Refills 0.

Imaging: Echocardiogram
Bonafede,Daniella 66/29/2018 02:35:16 PM EDT > pls obtain prior auth for above test...would like
to go to mercy hospital

Follow Up: 4 Weeks

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Summary View for KISTNER, JAMES C Page 3 of 3

Provider: Najmul H. Khan, DO
Patient: KISTNER, JAMES C DOB: BO Date: 06/29/2018

lb ,

Electronically signed by Najmul Khan , DO on 07/01/2018 at 12:40 AM EDT
Sign off status; Completed

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Summary View for KISTNER, JAMES C Page 1 of 2
Office Visit

Patient: KISTNER, Cc 2 Nad

Account Number: External Man Provider: Najmul H. Khan. DO

DOB: MMBMMG0 Age: 58 Y Sex: Male pate: Sidiaitiitin
Phone: 716-895-2949 CHN#:
Address: 33 SCHMARBECK AVE, BUFFALO, NY-14212

Patient's Default Facility: OLV Familycare Center

 

Subjective:

Chief Complaints:
1, 2 WEEK FOLLOWUP US/ECHO. 2. U/s done 7/6/18 and printed.

HPI:
HPI:

this is a 58 years old very pleasant Caucasian male camie to the office for 2 week follow-up patient was
seen by me after the hospital discharge follow-up. Patient was complaining of severe shortness of breath
and swelling of bilateral lower extremities at the time of the last visit. I started the patient on Lasix 40 mg
daily also at the time of the patient visit last time patient had the allergic conjunctivitis I started the
Coumadin patient never got the medication but just started taking Zyrtec patient now feeling much better.
Patient had the echocardiogram done which showed that patient left ventricular ejection for normal 55-60%
with impaired left ventricular diastolic relaxation, patient also has mild aottic root dilatation.

Patient had the ultrasound of the abdomen done which showed that patient has fatty liver, enlarged
prostate. Patient lost about 5 pounds during last 2 weeks which is most likely water weight, patient will
continue same medication 1 will start him on Advair and Ventolin inhaler.

ROS:
CHS Review of Systems:

Géneral/Constitutional: no complaints, ENT: no complaints, Negative for:, hearing loss,
congestion, Cardiovascular: no complaints, Negative for:, chest pain, dyspnea with exertion,
edema, palpitations. Respiratory: no complaints, Negative for:, cough, shortness of breath.
Gastrointestinal: no complaints, Negative for:, nausea, vomiting, diarrhea, constipation, pain in
abdomen. Genitourinary: no complaints, Negative for:, dysurla, urinary frequency.
Musculoskeletal: no complaints, Negative for:, joint pain, joint swelling, joint stiffness, muscle
pain. Neurological: no complaints, Negative for:, headache, seizures, motor/sensory loss.
Psychiatric: no complaints, Negative for:, anxiety, depression, suicidal ideations. Dermatologic: no
complaints, Negative for:, rash, lesion(s), lumps.

Medical History: Sarcoidosis 1981 no follow up, Schwanomma of spine s/p surgety, MVA-hit by a car
1/1/2017, Acute bronchitis, Routine adult health maintenance, Wrist pain, Adjustrnent disorder, Lower
extremity edema.

Surgical History: schawnoma tumor lower back (spine) , open lung biopsy-sarcoidosis .
Hospitalization /Major Diagnostic Procedure: surgeries , CP-Observation 11/30/2017.

Family History; Father; deceased, diagnosed with Hypertension. Mother: alive 87 yrs, diagnosed with
Cancer. Paternal Grand Father: deceased. Paternal Grand Mother: decéased, Maternal Grand Father:
deceased. Matemal Grand Mother: deceased. 3 sister(s) - healthy. 4 son(s) , 3 daughter(s) - healthy. .

Medications: Taking Ventolin HFA 108 (90 Base) MCG/ACT Aerosol Solution 2 puffs as needed Inhalation
every 6 hrs, Taking Advair Diskus 250-50 MCG/DOSE Aerosdl Powder Breath Activated 1 puff Inhalation
Twice a day, Taking Atorvastatin Calcium 40 MG Tablet 1 tablet Orally Once a day, Taking Zyrtec Allergy 10
MG Tablet 1 tablet Orally Once a day, Taking Lasix 40 MG Tablet 1 tablet Orally On¢e a day, Discontinued
Cromolyn Sodium 4 % Solution 1 drop into affected eye Ophthalmic Four times a day, Medication List
reviewéd and reconciled with the patient

Allergies: Codeine Sulfate: Headaches.
Objective:

Vitals: Ht 69.5, Wt 239 lbs, BMI 34.78 Index, Weight Change -5.4 lb, BP 122/60 mm Hg, HR 80, Temp
98.4 F, Pain scale 4 1-10, RR 18.

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Case 1:18-cv-00402-LJV-JJM Document 71 Filed 04/30/21 Page 44 of 44
Summary View for KISTNER, JAMES C Page 2 of 2

Examination:
General Examination:

Constitutional: in no acute distress, looks well. CARDIOVASCULAR: regular rate and rhythm,
normal S1S2. RESPIRATORY: clear to auscultation bilaterally. GASTROINTESTINAL: soft, non-
tender/non-distended, bowel sounds present. NEUROLOGIC EXAM: alert, oriented, no gross
motor/sensory deficit. PSYCH appropriate mood and affect . SKIN: no rash or skin
lesions. EXTREMITIES: no clubbing, cyanosis, or edema. PERIPHERAL PULSES: normal (2+)
bilaterally.

Assessment:

Assessment:

1. Chronic obstructive pulmonary disease, unspecified COPD type - 344.9 (Primary)
2, Leg edema - R60.0

3. Sarcoidosis - D86.9

4, Dependence on other enabling machines and devices - Z99,89

5. Obstructive sleep apnea (adult) (pediatric) - G47.33

6. Hypercholesteremia - 78.00

Plan:

1. Chronic obstructive pulmonary disease, unspecified COPD type

Refill Ventolin HFA Aerosol Solution, 108 (90 Base) MCG/ACT, 2 puffs as needed, Inhalation, every 6 hrs, 30
days, 1, Refills S ; Refill Advair Diskus Aerosol Powder Breath Activated, 250-50 MCG/DOSE, 1 puff,
Inhalation, Twice a day, 30 days, 1, Refills 5.

Clinical Notes: Encouraged to continue to use the inhaler as prescribed. If use were to increase or new
symptoms were to develop proceed to ER or call office.

2. Leg edema
Refill Lasix Tablet, 40 MG, 1 tablet, Orally, Once a day, 30 day(s), 30, Refills 5 .

3. Hypercholesteremia

Refill Atorvastatin Calcium Tablet, 40 MG, 1 tablet, Orally, Once a day, 30 day(s), 30, Refills 5 .

Clinical Notes: Discussed the importance of low fat diet, goal LDL is less than 100. Warned of the common
side effects of statin including myalgia and increased liver enzymes. If symptoms were to occur cal office,

4. Others

Clinical Notes: Assessed patients understanding of medications, assessed patients response to medications
and any barriers to adherence., Patient was provided information about new medication(s) including
potential side effects, drug interactions, instructions for taking the medication(s), and the consequences of
not taking the medication(s). Patient verbalizes understanding.

Follow Up: 3 Months

Provider: Najmul H. Khan. DO
Patient: KISTNER, JAMES C DOB:MMso Date: 07/12/2018

I.
MW)

Electronicaily signed by Najmul Khan , DO on 07/19/2018 at 09:45 PM EDT
Sign off status; Completed

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